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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
________________________________________________
SARA COOMBS-MORENO, REMO DELLO IOIO,
ELIZBETH LOIACONO, SUZANNE DEEGAN,
MARITZA ROMERO, JULIA HARDING, CHRISTINE
O’REILLY, AYSE P. USTARES, JESUS COOMBS,
ANGELA VELEZ, SANCHA BROWNE, AMOURA
BRYAN, ZENA WOUADJOU, CHARISSE RIDULFO,
TRACY-ANN FRANCIS MARTIN, KAREEM
CAMPBELL, MICHELLE HEMMINGS HARRINGTON,
MARK MAYNE, CARLA GRANT, OPHELA INNISS,
CASSANDRA CHANDLER, AURA MOODY, EVELYN
ZAPATA, SEAN MILAN, SONIA HERNANDEZ,
BRUCE REID, JOSEPH RULLO, AND CURTIS BOYCE,
JOSESPH SAVIANO, MONIQUE MORE, NATALYA
HOGAN, JESSICA CSEPKU, ROSEANNE
MUSTACCHIA, YULONDA SMITH, MARIA FIGARO,
RASHEEN ODOM, FRANKIE TROTMAN, EDWARD
WEBER, MERVILYN WALLEN, PAULA SMITH,
CHRISTIAN MURILLO, LYNDSAY WANSER,
JOSEPH SAVIANO, MARVILYN WALLEN,
CHRISTIAN MURILLO, DAWN SCHOL, SUZANNE
SCHROETER, SARAH WIESEL, ALTHEA BRISSETT,
TRACEY HOWARD, MARC ROSIELLO, AUDREY
DENNIS, MARIE JOSEPH, PATRICIA CATOIRE,
SALLY MUSSAFI, COLETTE CAESAR, BERTRAM
SCOTT, DIANE PAGEN, STELLA M. PRESTON,
RACHELLE GARCIA, JULIE LAWLEY, SUSANNE
PHILLIP, MARIA ESTRADA, AND JENNETTE
FRAZER, individually and on behalf of similarly situated
individuals,

                           Plaintiffs,
                    v.

 THE CITY OF NEW YORK, MAYOR ERIC L. ADAMS,                (PROPOSED) FOURTH AMENDED
 FORMER MAYOR BILL deBLASIO,                               CLASS ACTION COMPLAINT FOR
 COMISSIONER ASHWIN VASAN, MD, PHD, AND                    DAMAGES, DECLARATORY AND
 FORMER COMMISSIONER DAVE A. CHOKSHI, M.D.,                INJUNCTIVE RELIEF
 MSC., DEPARTMENT OF HEALTH AND MENTAL
 HYGIENE, DEPARTMENT OF EDUCATION AND                      AND JURY DEMAND
 DOES 1-20
                                                           INDEX No.:1:22 CV 02234-EK-LB

                           Defendants
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_____________________________________________________________________________________________



                                          INTRODUCTION


1. This action arises out of the City of New York’s (the “City”) wrongful discharge of Plaintiffs, and

   similarly situated City workers (collectively “Plaintiffs”) in violation of Section 11(c)(1) of the

   1970 Occupational Safety and Health Act (“OSH Act”) at 29 U.S.C. §660, in violation of Plaintiffs

   Constitutional First Amendment Free Exercise and substantive Due Process Clause rights under the

   Fourteenth Amendment procedurally brought through this 42 U.S.C. Section 1983 claim and in

   violation of the New York City Human Rights Law (NYCHL) for exercising their fundamental

   right to refuse to submit to taking the City’s illegally mandated Covid-19 vaccine medical treatment

   based on religious and non-religious grounds.

2. Also, certain Plaintiffs who took the Covid-19 Vaccine (the “Vaccinated Workers”)- on their own

   behalf and on behalf of similarly situated City workers – also assert claims for fraud against the

   City for its misrepresentation that the Covid-19 vaccine was as a matter of fact able to “prevent the

   communication of the infectious disease – Covid-19” and the City’s omission/failure to disclose to

   Plaintiffs that they had a federal statutory right under the OSH Act 29 U.S.C. §669, Section 20(a)(5)

   to refuse the Covid-19 experimental medical immunization, which said fraud caused the Vaccinated

   Workers to take the Covid-19 vaccine only to later become infected with the Covid-19 virus and

   sustain injuries that did not exists before the Covid-19 vaccine was taken.

3. Between August 2021 and December 13, 2021, the City issued approximately nine (9) Covid-19

   Vaccine Orders (“Covid Vaccine Orders” or “Vaccine Orders”) by and through the prior New York

   City Department of Health and Mental Hygiene (“NYCDOH”) Commissioner that were enforced

   by the current City Mayor Adams and current Commissioner Vasan mandating Plaintiffs and all

   City employees including City contractors, and employees working for private employers in the

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   City to submit to the administrative injection of the Covid-19 vaccine into their body in order to

   retain their jobs and continue to work in their assigned workplace inside City owned buildings,

   otherwise City workers would be banned from entering the City owned building while

   unvaccinated.

4. Plaintiffs who refused to submit by either October 2021 or February 1, 2022 to the Covid-19

   Vaccine Orders because of their religious practice of refusing to be vaccinated or for non-religious

   reasons, where thereafter placed on leave without pay and banned from returning to their

   workplaces to meet the requirements of their jobs, despite having made several requests to be

   exempted from the Vaccine Orders based on their religious or philosophic practice of refusing the

   Covid-19 vaccine.

5. While sometime in March 2023, the City amended its Vaccine Orders to remove the language that

   banned unvaccinated City workers from City buildings, not all Plaintiffs have been allowed to

   automatically return to their jobs because the City has failed to rehire all Plaintiffs despite the fact

   that many of them have requested to be reinstated to their jobs in order to return to their workplace.

6. Therefore, Plaintiffs and those similarly situated first seek a declaratory judgment pursuant to the

   Federal Declaratory Relief Act at 28 U.S. §2201 declaring that the City’s Covid-19 Vaccine Orders

   and all liability waivers obtained by the City from workers who under duress waived their rights to

   damages in exchange for keeping their healthcare benefits are null and void by the OSHA Pre-

   emption Clause at 29 USC 667 Section 18(a) because OSHA already has existing safety standards

   for the elimination and/or management of airborne respiratory hazards that included minimum

   standards that the Covid-19 vaccine cannot meet because immunizations and vaccines in general

   (hereinafter referred to collectively as “Vaccines”) are incapable of removing any airborne hazard

   from the workplace atmosphere, including the hazardous virus that causes the Covid-19 or any

   other communicable infectious disease, and Vaccines are incapable of shielding employees or the

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   public from exposure to any airborne hazard or communicable infectious disease in the workplace

   atmosphere.

7. The Vaccine Orders are pre-empted because vaccines by definition not an authorized “method” by

   OSHA that any employer can use to prevent employee exposure to the hazardous Covid-19 virus

   in the workplace atmosphere, which OSHA declared Covid-19 to be a “grave danger” to workers.

   Since the Covid-19 vaccine does not meet OSHA’s minimum safety standards for eliminating

   and/or protecting employees from the hazardous airborne Covid-19 virus in the workplace, the City

   had no authority under the OSH Act Pre-Emption Clause in 29 USC 667 Section 18(a) to issue and

   mandate the Vaccine Orders as “workplace” safety requirements for employees for the sole purpose

   of “preventing the spread” of Covid-19 in the workplace. Plaintiffs also seek a permanent injunction

   pursuant to 28 U.S. §2201 to forever ban and enjoin the City from issuing any future immunization

   or vaccine mandates that violate the OSHA Act and to declare the fundamental rights of Plaintiffs

   to choose and refuse medical treatment as

8. Plaintiffs also seek immediate reinstatement to their jobs, backpay, compensatory damages and

   pecuniary damages for certain Plaintiffs fraud claim against the City for the unlawful enforcement

   of the Vaccine Orders by the City’s Mayor Adams and Commissioner Vassan in their official

   capacity, for the fraudulent claims some Plaintiffs relied on and were injured by and punitive

   damages against former City Mayor Bill de Blasio, the City’s current Mayor Adams and former

   Health Commissioners Dr. Dave A. Chokshi and current Commissioner Vasan in their individual

   capacities for their intentional and/or reckless disregard for the exercise of Plaintiffs fundamental

   First Amendment Free Exercise right protected by Section 20(a)5 of the OSHA Act and the exercise

   of Plaintiffs fundamental right to choose or refuse medical treatment for non-religious reasons

   protected by the Fourteenth Amendment substantive due process clause, and right to be free from

   “quid pro quo” religious harassment protected by the NYCHL under which all Plaintiffs are entitled

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   to the maximum statutory punitive damage award in the amount of $250,000 pursuant to NYC

   Administrative Code 8-107.



                                  JURISDICTION AND VENUE

9. This Court has original jurisdiction pursuant to 28 U.S.C. §1331 regarding the federal question of

   preemption of the Federal OSHA Act of 1970 over the City’s Vaccine Orders, as well original

   jurisdiction pursuant to the OSH Act Section 11(c)(2) (which gives United States district courts

   exclusive jurisdiction over “any such action” to “order all appropriate relief”) for wrongful

   discharge of employees in violation of OSH Act Section 11(c)(1), which includes wrongful

   discharge of an employee who exercises their right to refuse immunization protected under Section

   20(a)(5) of the OSH Act; and, pursuant to 42 U.S.C. §1983 of the 1964 Civil Rights Act for

   violations of Plaintiffs First Amendment Free Exercise Clause and Fourteenth Amendment

   substantive Due Process clause rights.

10. Moreover, this Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a), over

   any and all claims arising under state law, namely the New York City Human Rights Law

   (“NYCHRL”) codified in Administrative Code §8-109(a) and (f)(i) and certain Plaintiffs common

   law fraud claims, in that such claims are so related to Plaintiff’s claims within the original

   jurisdiction of this Court that they form part of the same case or controversy.

11. The unlawful employment practice alleged herein occurred wholly or in part, in the jurisdiction of

   the Eastern District of New York, specifically, Brooklyn, NY and this case is properly brought in

   the Eastern District of New York under 28 U.S.C. §1391(b).

8. Jurisdiction is also appropriate because Plaintiffs have properly and timely served the City’s

   Comptroller on the City statutorily required form - See Exhibit 1 - notice of claims on behalf of

   Plaintiffs and those similarly situated; although notices of claims are not required for claims on

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    behalf of the public interest against New York municipals – see Gen. Mun. Law § 50-e(1)(a)1 and

    under information and belief Plaintiffs have exhausted their administrative remedies and received

    right to sue letters from the EEOC, although exhaustion of administrative remedies are not required

    for Section 1983. See Patsy v. Board of Regents of State of Florida, 457 U.S. 496 (1982)

9. Moreover, this Court can retain jurisdiction over all Plaintiffs claims because they are not time

    barred and have been brought within four (4) years of the wrongful acts alleged herein pursuant to

    28 U.S.C. § 1658, within 2 years after Plaintiffs discovered the common law fraud, which was

    some time after the original Complaint was filed in June 2022 as required under New York

    CPLR213(8) and within three (3) years as required under the NYHRA.



                                                    JURY DEMAND

9. Plaintiffs hereby demand a trial by jury on all issues properly triable thereby pursuant to

    Fed.R.Civ.P. 38(b).



                                                        PARTIES

    A. PLAINTIFFS

         Individual Plaintiffs & Class Representatives

11. Plaintiffs bring this action on behalf of themselves and all City employees within any and all the

    City agencies of approximately 50 city departments, including but not limited to Department of

    Education, Department of Transportation, Department of Sanitation, Central Administrative




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  Gen. Mun. Law § 50-e(1)(a) states: “actions that are brought to protect an important right, which seek relief for a
similarly situated class of the public, and whose resolution would directly affect the rights of that class or group are
deserving of special treatment. The interests in their resolution on the merits override the State's interest in receiving
timely notice before commencement of an action.” See also Mills v County of Monroe, 59 NY2d 307, 311 (1983) and
Picciano v. Nassau Civ. Serv., 290 A.D.2d 164, 736 N.Y.S.2d 55 (N.Y. App. Div. 2001)
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    Services, Police Department, Department of Children’s Services. Plaintiffs make up two (2) classes

    of City employees, as follows:

        a. City employees who have refused to submit to the Vaccine Orders, evidenced by having

           submitted to the City a written request for exemption from the Vaccine Orders either for

           religious reasons, medical reasons or for any reason that was denied and who were

           subsequently placed on leave without pay due to their practice of refusing to take the Covid-

           19 vaccine and who have not returned to work because the City has locked them out of their

           jobs since sometime around September 2021. These are the Locked-Out Class; and

        b. City employees who also refused to take the Covid-19 vaccine, who submitted an exemption

           request that was denied, but after being placed on leave without pay several weeks to months

           where coerced by the City’s “quid pro quo” Vaccine Order actions they took the Covid-19

           vaccine so that they could get their jobs and salary back. These are the “Coerced Class”.

        c. City employees who relied on the City’s material misrepresentation that the Covid-19

           vaccine “is an effective tool to prevent the spread of Covid-19” (See Vaccine Orders) and

           submitted to the administrative injection of the Covid-19 into their bodies and thereafter

           experienced one or more Covid-19 infections that resulted in physical, and/or psychological

           injury, including injuries like long Covid-19 and other health conditions those certain

           Plaintiffs did not have prior to taking the Covid-19 injection or experienced an exacerbation

           of existing illnesses.

    Locked Out Class

12. All employees who requested exemption from the City’s Covid-19 Vaccine Orders that were denied

    were placed on indeterminate leave without pay and “locked out” from their jobs because the

    Vaccine Order denied them entrance into their workplace unless they provided proof of vaccination

    and these employees were not “terminated” because the City did not institute “good cause” charges

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   against any of the Plaintiffs as required to terminate any City employee pursuant to either Education

   Law §3020, for all tenured teachers in the Department of Education; or pursuant to New York City

   Administrative Code §16-1016 for Department of Sanitation employees, or pursuant to New York

   City Civil Service Law §757 which applies to all other City employees. These are the “Locked Out

   Class” hereinafter referred to as those who were “wrongly discharged.” Under New York law an

   unlawful “lock out” is defined as an employee who is denied access to their workplace which forces

   the employee to cease their work activity pursuant to McGinnis v. Bankers Life Co., Des Moines

   Iowa, 334 N.Y.S. 2nd 270 (N.Y. App. Div. 1972)

13. Remo Dello Ioio, a tenured Home Instructor employee who worked over 17 years for the New

    York City Department of Education who filed a EEOC Charge No. 520202200117 and received a

    Right to Sue Letter dated January 19, 2022. He is part of the Locked-Out Class.

14. Maritza Romero is a former tenured Special Education Teacher who worked for the New York

    City Department of Education for over 20 years who has been denied the right to work in a safe

    workplace because she exercised her right to refuse the Vaccine Order. She has filed an EEOC

    Charge No. 520202200311 and received a Right to Sue Letter dated January 19, 2022. She

    represents the Locked-Out Class.

15. Elizabeth Loiacono, a former employee of the New York City Department of Education filed a

    EEOC Charge No. 520202200353 and received a Right to Sue Letter Dated March 24, 2022. She

    represents the Locked-Out Class.

16. Suzanne Deegan, a former employee of the New York City Department of Education who was

    placed on leave without pay for refusing to submit to the Vaccine Orders on religious ground. She

    filed a EEOC Charge No. 520202200109 and received a Right to Sue Letter Dated January 19,

    2022. She represents the Locked-Out Class.



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 17. Julia L. Harding is a former Education Administrator-Central Based Support Team Case Manage

      for New York City Department of Education who was been placed on leave without pay since

      October 4, 2021 for refusing to submit to the Vaccine Orders on religious grounds. She has filed

      a EEOC Charge No. 520202200147 and received a Right to Sue Letter Dated January 19, 2022.

      She represents the Locked-Out Class.

 18. Christine O’Reilly, a tenured teacher in Academic Intervention Services with over 22 years of

      service with the New York City Department of Education filed a EEOC Charge No. 520202200421

      and received a Right to Sue Letter Dated January 19, 2022. She represents the Locked-Out Class

      who was involuntarily placed on leave without pay since around October 4, 2021 for refusing to

      take the Covid-19 vaccine for religious grounds.

 19. Ayse P. Ustars, is a 20+ year Social Worker for the City’s Department of Education who was

      placed on leave without pay on October 4, 2021 for refusing to submit to the Vaccine Order, filed

      a EEOC Charge No. 520202200062 and received a Right to Sue letter; but due to the financial

      hardship she experienced when she was placed on leave without pay for five (5) months, on March

      9, 2022, Ms. Ustars was coerced to take the vaccine due to financial hardship of being forced to

      be on leave without pay for five months submitted to the Vaccine Order and returned to work on

      March 15, 2022 and now seeks lost pay and emotional distress damages. She represents the

      “Coerced Class.”

20. Sara Coombs-Mereno, is a tenured teacher with the Department of Education who was put on leave

      without pay for refusing to submit to the Vaccine Orders on religious ground. She represents the

      Locked-Out Class.

21.   Sancha Brown, is a tenured teacher with the Department of Education who was put on leave without

      pay for refusing to submit to the Vaccine Orders for religious grounds.



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22.   Amoura Bryan, is a tenured teacher with the Department of Education who was put on leave without

      pay for refusing to submit to the Vaccine Orders on religious ground. She represents the Locked-

      Out Class.

23.   Zena Wouadjou, is a tenured teacher with the Department of Education who was put on leave

      without pay for refusing to submit to the Vaccine Orders on religious grounds. She represents the

      Locked Out Class.

24.   Evelyn Zapata, Christine O’Reilly, Edward Weber, were all former employees of the Department

      of Education who were placed on leave without pay refusing to submit to the Vaccine Orders due

      to her religious practices.

25.   Tracy-Ann Francis-Martin, was a supervisor for the Department of Child Protective Services who

      was put on leave without pay for refusing to submit to the Vaccine Orders on religious grounds.

      She represents the Locked-Out Class who can work remote.

26.   Michelle Hemmings Harrington, was an employee of the Department of Transportation who was

      placed on leave without pay for refusing to submit to the Vaccine Orders on religious grounds.

27.   Ophelia Inniss, was an employee of the Administration of Children Services who was placed on

      leave without pay for refusing to submit to the Vaccine Orders on religious grounds.

28.   Cassandra Chandler, was an employee of the Administration of Children Services who was placed

      on leave without pay for refusing to submit to the Vaccine Orders on religious grounds.

29.   Carla Grant, was an employee of the Department of Transportation who was placed on leave

      without pay for refusing to submit to the Vaccine Orders on religious grounds.

30.   Charisse Ridulfo, is a tenured teacher with the Department of Education who was put on leave

      without pay for refusing to submit to the Vaccine Orders on religious grounds. She represents the

      Locked-Out Class.



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31.   Kareem Campbell was an employee of the Department of Transportation who was placed on leave

      without pay for refusing to submit to the Vaccine Orders on religious grounds. He represents the

      Locked-Out Class.

32.   Bruce Reid, was an employee of the Department of Sanitation who was placed on leave without

      pay for refusing to submit to the Vaccine Orders on religious grounds. He represents the Lock-out

      Class.

33.   Joseph Rullo, was an employee of the Department of Sanitation who was placed on leave without

      pay or refusing to submit to the Vaccine Orders on religious grounds.

34.   Sean Milan was an employee of the Department of Sanitation who was placed on leave without pay

      refusing to submit to the Vaccine Orders on religious grounds. He has filed an EEOC complaint.

35.   Sonia Hernandez was an employee of the New York Police Department who was placed on leave

      without pay refusing to submit to the Vaccine Orders on religious grounds.

36.   Plaintiffs Curtis Boyce, Joesph Saviano, Monique More, Natalya Hogan, Jessica Csepku, Roseanne

      Mustacchia, Yulonda Smith, Maria Figaro, Rasheen Odom, Frankie Trotman, Edward Weber,

      Merylyn Wallen, and Paula Smith, Jeffrey Hunter, Maria Figaro, Frankie Trotman, Yulanda Smith,

      Roseanna Mustachhia, Jessica Csepku, Natalya Hogan, Monique Moore, Joseph Saviano, Marvilyn

      Wallen, Christian Murillo, Dawn Schol, Suzanne Schroeter, Sarah Wiesel, Althea Brissett, Tracey

      Howard, Marc Rosiello, Audrey Dennis, Marie Joseph, Patricia Catoire, Sally Mussafi, Colette

      Caesar, Bertram Scott, Diane Pagen, Stella M. Preston, Rachelle Garcia, Stella M. Presto, Rachelle

      Garcia, Julie Lawley, Susanne Phillip, and Jennette Frazer. Maria Estrada and those similarly

      situated all requested religious and/or medical exemptions from the Covid-19 Vaccine Orders as

      required by the City and were denied several request by the City for exemption and all were placed

      on involuntary leave without pay for refusing to submit to the Vaccine Orders on religious grounds

      or other grounds.

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      Coerced Class

37.   Angela Velez is a Guidance Counselor for Home Instruction Schools which is a remote position

      with the Department of Education. Ms. Velez was placed on leave without pay on October 4, 2021

      for refusing to submit to the Vaccine orders. But after almost 5 months being on leave without pay

      as the primary earner in her house and unable to find another job due to her unvaccinated state

      based on her religious practice, Ms. Velez with tears in her eyes and under duress submitted to the

      Vaccine Order and returned to work in March. She has filed an EEOC charge. She represents the

      “Coerced Class”.

38.   Jesus Coombs is the Chief Architect for the Department of Central-Wide Administrative Services.

      On January 13, 2022, Mr. Coombs was placed on leave without play for refusing to submit to the

      Vaccine Orders. He was scheduled to be terminated, but because he is the sole income earner in his

      home, he with much gilt, anxiety and distress, submitted to the Vaccine Order and returned to work

      on February 15, 2022. He represents the “Coerced Class” who carries much guilt and anxiety for

      having to choose between meeting the needs of their family and God. Mr. Coombs took the Covid-

      19 vaccine and thereafter sustained a Covid-19 infection and health problems.

      B. DEFENDANTS

39.    The City including all applicable agencies which are approximately 50 agencies, including but

       not limited to the New York Police Department, Department of Education, Department of

       Transportation, Department of Sanitation, Department of Citywide Administrative Services, and

       Administration for Children’s Services. The law of the State in which the district court is located

       determines a party’s amenability to suit. Under the New York City Charter, “all actions and

       proceedings for the recovery of penalties for the violation of any law shall be brought in the name

       of the City of New York and not in the name of any agency, except otherwise provided by law.”

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40.   Mayor Eric Adams is named in his official capacity as mayor of the City who under color of law

      ratified and enforced the Vaccine Orders of the prior Mayor which caused Plaintiffs to be wrongly

      discharged in violation of the OSHA Act, Title VII and the NYCHRL for refusing to take the

      Covid-19 vaccine and Mayor Adams in his individual capacity for his reckless disregard and

      willful harassment of Plaintiffs rights to refuse the Covid-19 vaccine and willful acts of coercion

      to force Plaintiffs to submit to the Covid-19 vaccine after they were placed on LWOP and to force

      them to waive their rights of backpay and compensatory damages.

41.   Bill DeBlasio for his knowing and wanton enactment of the Vaccine Orders in direct violation of

      the OSHA Act and in reckless disregard of Plaintiffs rights to refuse the Covid-19 vaccine and

      retain their jobs protected by the OSH Act, Title VII and the NYCHRL.

42.   The City Department of Health and Mental Hygiene (NYC-DHMH) has been named separately

      because the New York City Health Code and Rules §3.01 General Powers grants it with exclusive

      authority for protecting the public health of the residents of the City.

43.   The City Commissioner Ashwin Vasan, MD, PHD is named in his official capacity as the

      Commissioner of the Department of Health and Mental Hygiene (NYDOH) because his actions

      where taken under color of the laws of New York and in his individual capacity for his reckless

      and willful failure to repeal all Vaccine Orders as violative of the OSH Act.

44.   The former City Commissioner Dave A. Chokshi, M.D., MSc in his individual capacity for

      willfully and recklessly enacting the Vaccine Order in direct violation of Plaintiffs right protected

      by the OSH Act and because he knew or should have known that the Vaccine Orders violated the

      safety standards under the OSH Act.

45.   The Department of Education is hereby named separately because they are a separate legal entity

      from the City who also enforced the Vaccine Orders against his employees in violation of

      Plaintiffs rights under the OSH Act, Title VII and the NYCHRL.

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            FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

      A. Facts Relevant to Plaintiffs Claim

46.   In 1970, Congress (through its Constitutional power under Article 1, Section 8 of the Commerce

      Clause) enacted the Occupational Safety and Health Act (OSH Act) described by in the “All

      About OSHA” publication by the Occupational Safety and Health Administration as a law that

      “makes it clear that the right to a safe workplace is a basic human right” and that employers are

      responsible for providing a safe and healthful workplace as well as safe and healthful “working

      conditions” as required under the OSH Act 29 USC §651 Section 2b. See Exhibit 2

47.   Specifically, the OSH Act 29 USC §654 Section 5(a)(1) places an affirmative duty on employers

      to “furnish to each of his employees employment and a place of employment which are free from

      recognized hazards that are causing or are likely to cause death or serious physical harm to his

      employees” and encourages employers to jointly work with employees to reduce disease arising

      out of employment.

48.   This OSH Act and its standards are applicable specifically “to employment performed in a

      workplace” in the United States. See 29 USC §653 Section 4(a)

49.   The OSH Act created the federal Occupation Safety and Health Administration (OSHA) and

      provided exclusive authority to OSHA’s Secretary through 29 U.S.C. §655 Section 6(b)(6)(iii) to

      promulgate “minimum” health and safety standards and to determine the “practices, means,

      methods, operations, and processes” to meet the minimum standards.

50.   Congress provided the OSHA Secretary authority to set minimum standards because Congress

      declared in the OSH Act that personal injuries and illnesses arising out of work situations impose

      a substantial burden upon, and are a hindrance to, interstate commerce in terms of lost production,

      wage loss, medical expenses, and disability compensation payments.



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51.   Congress reserved to the OSHA Secretary the exclusive power to set “a nationwide floor of

      minimally necessary safeguards” that federal, state and private employers and places of public

      accommodation are mandated to meet for public health and safety. 29 U.S.C. § 651(b) See Solus

      Indus. Innovations, LLC v. Superior Court of Orange Cnty., 228 Cal. Rptr. 3d 406 (Cal. 2018).

52.   The OSH Act was enacted "to address the problem of uneven and inadequate state protection of

      employee health and safety" and to "establish a nationwide ‘floor’ of minimally necessary

      safeguards." United Air Lines, Inc. v. Occupational Safety & Health Appeals Bd., 32 Cal.3d 762,

      772, 654 P.2d 157 (1982)

53.   The City as a municipality must comply with the OSH Act standards and regulations through the

      New York OSHA State Plan and specifically comply with standards and regulations not under

      the jurisdiction of the New York State Department of Labor. See Exhibit 3 attached hereto and

      incorporated herein by this reference.

54.   Under the OSH Act General Duty Clause at 29 USC 654 Sec 5(a)(1), Defendants shall provide a

      workplace that is free from recognized hazards that are causing or are likely to cause death or

      serious physical harm to employees.

55.   On March 11, 2020, the World Health Organization declared the infectious airborne Covid-19

      virus a Global Pandemic. See Exhibit 4 attached hereto and incorporated herein by this reference.

56.   In June 2021 OSHA Emergency Temporary Standard (ETS), OSHA concluded that serious and

      potentially fatal consequences of COVID-19 pose a particular threat to employees, as the

      nature of SARS-CoV-2 transmission readily enables the virus to spread when employees are

      working in spaces shared with others (e.g., co-workers, patients, visitors) and that the “scientific

      evidence of SARS-CoV-2 transmission, presented in the ETS, makes clear that the virus can be

      spread wherever an infectious person is present and shares space with other people.



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57.   When OSHA determines a substance poses a grave danger to workers, OSHA can assume an

      exposure to a grave danger wherever that substance is present in a workplace. See Dry Color

      Mfrs. Ass'n, Inc. v. Dep't of Labor, 486 F.2d 98, 102 n.3 (3d Cir. 1973)

58.   According to the CDC, the principal mode by which people are infected with the virus that causes

      a Covid-19 viral disease infection is through exposure to respiratory fluids carrying infectious

      virus, which exposure occurs in three principal ways: (1) inhalation of very fine airborne

      respiratory droplets and aerosol particles (e.g., quiet breathing, speaking, singing, exercise,

      coughing, sneezing) in the form of droplets across a spectrum of sizes that are in the atmosphere,

      (2) deposition of respiratory droplets and particles on exposed mucous membranes in the mouth,

      nose, or eye by direct splashes and sprays, and (3) touching mucous membranes with hands that

      have been soiled with virus on them. See Exhibit 5, attached hereto and incorporated by reference.

59.   The virus that causes Covid-19, therefore, is an airborne hazard and “condition” that exists in the

      workplace within the meaning of the OSH Act 29 USC §654 Section 5(a)(1) that an employer has

      a duty to remove and eliminate from the work place and/or follow the minimum OSHA standards

      applicable to airborne hazards..

60.   The list of “minimum safety methods” approved by OSHA that employers can use to meet its

      duty to provide employees with a safe workplace when a respiratory communicable disease is

      present in the workplace atmosphere, exclusively includes the General Respiratory Standard at

      29 CFR §1910.132, the Personal Protective Equipment standard at 29 CFR §1910.132, the

      Respiratory Protection standard at 29 CFR §1910.134 and the General duty Clause of the OSH

      Act 29 U.S.C. §654 (collectively hereinafter “Respiratory Standards”). See Exhibit 6

61.   In 1979 OSHA adopted the In- door Ventilation and In-door Air Quality regulations under 29

      C.F.R. Section 1926.57 which outlines authorized methods for removal of airborne hazards from

      the workplace atmosphere. See Exhibits 7 & 8

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62.   Pursuant to the OSHA General Duty Clause and the Respiratory Standards contained in 29 CFR

      §1910.132 and 29 CFR §1910.134, Defendants have a duty to prevent exposure to airborne

      hazardous infectious diseases found in the atmosphere of the workplace, including but not limited

      to the infectious diseases of SARS, MRSA, Zika, Pandemic Influenza, Measles, Ebola and Covid-

      19. (See Exhibit 4)

63.   Based on the language in the Respiratory Standards, the primary objective of the OSHA

      Respiratory Standards is to implement methods that, at minimum, either: 1) remove hazardous

      airborne contaminations from the atmosphere of a workplace and/or 2.) prevent employee

      exposure to known airborne contaminates in the workplace atmosphere. See United Air Lines,

      Inc. v. Occupational Safety & Health Appeals Bd., 32 Cal.3d 762, 772, 654 P.2d 157 (1982)

      (Held: The OSH Act was enacted "to address the problem of uneven and inadequate state

      protection of employee health and safety" and to "establish a nationwide ‘floor’ of minimally

      necessary safeguards.")

64.   OSHA Respiratory regulations also mandate employers to provide “remote work from home” as

      an additional safety method when an employer cannot remove an airborne hazard from the

      workplace atmosphere or provide equipment that can shield an employee from exposure to an

      airborne hazard. See Exhibit 9, P. 7+16

65.   OSHA Expert Hygienist Bruce Miller explains that “remote work” is an authorized safety method

      under OSHA. See Exhibit 9, P.7, 16)

66.   OSHA Covid-19 safety guidelines for K-12 schools approved “remote work” for teachers. See

      Exhibit 10

67.   According to the CDC, the Covid-19 is an airborne viral hazard which can cause serious physical

      injury and/or death. Exhibit ________



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68.   The                World                Health                Organization                defines

      “Public Health Measures”      or as “non-pharmaceutical interventions that can be taken by

      individuals, institutions, communities, local and national governments and international bodies to

      slow or stop the spread of an infectious disease, such as COVID-19. Individuals can, for example,

      engage in behaviors such as frequent hand washing

69.   All Defendants are mandated to comply with the OSHA minimum Respiratory standards by using

      only the authorized methods approved by OSHA to keep employees safe during an outbreak of

      the airborne virus that can cause a Covid-19 infection in the workplace.

70.   Pursuant to the OSHA Respiratory regulations at CFR 1910.132 and the OSHA General Duty

      Clause, the City and all employers have a non-delegable duty to take “immediate action to

      eliminate employee exposure to an imminent danger identified” in the workplace atmosphere,

      when dealing with airborne contaminants. See Doca v. Marina Mercante Nicaraguense, S.A., 634

      F.2d 30, 33 (2d Cir. 1980) (held that OSHA regulatory standards created a non-delegable duty to

      remove a known hazard.)

71.   No vaccine or immunization is capable of meeting the OSHA Respiratory regulation standard as

      an approved safety method because neither vaccines nor immunization can remove airborne

      hazards from the workplace atmosphere and neither can they shield employees from exposure to

      any airborne hazard, including the Covid-19 airborne hazard or any other airborne infectious

      disease.

72.   According to Dr. Baxter Montgomery, MD, a cardiologist responsible for OSHA workplace

      safety in his medical facility, vaccines/immunizations are “medical treatments” that affects the

      human immune system and are incapable of removing airborne infectious diseases from the air

      or shielding employees from exposure to any airborne infectious disease, like Covid-19 that can

      cause serious injury or death. (See Exhibit 11 Dr. Montgomery Affidavit)

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73.   While all vaccines obtain federal approval for use from the Food & Drug Administration (FDA),

      the 1938 Federal Food, Drug, and Cosmetic Act (“FDCA”) 21 U.S.C. § 301 et seq., only grants

      the FDA authority to regulate all “drugs” and “devices,” which include any “articles (other than

      food) intended to affect the structure or any function of the body,” as well as any components of

      such articles. Id. § 321(g)(1)(C)- (D), (h)(3) (Emphasis added).

74.   The FDA does not have authority to regulate methods to be used to provide environmental health

      and safety in physical places of business and workplaces.

75.   Neither does FDA approval of any vaccine for use, nor does a recommendation from the Center

      for Disease Control (CDC) that the Covid-19 vaccine is “safe and effective,” automatically make

      if or any vaccine, including the Covid-19 vaccine an OSHA approved “safety method” that

      employers can use to prevent employee exposure to airborne communicable infectious diseases

      including the Covid-19 airborne viral hazard.

76.   The FDA regulates medical treatments or products that are ingested inside a human person that

      every competent person has the fundamental right to refuse. Cruzan v. Director, Missouri Dep’t

      of Health, 497 U.S. 261, 262 (1990)

77.   The OSH Act does not authorize the OSHA Secretary nor employers regulated by the OSH Act

      and regulations to prescribe FDA “medical treatments” to eliminate airborne workplace hazards

      like Covid-19 that can cause serious injury or death.

78.   It is a felony in New York for any unauthorized person to prescribe or mandate a “medical

      treatment,” including the medical treatment of the Covid-19 vaccine. See New York Education

      Law §6520& §6521 and §6512.

79.   Vaccines/immunizations are not OSHA authorized or approved workplace safety methods that

      any employers is permitted to use to comply with the OSHA mandate that employers protect

      employees from exposure to airborne hazards.

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80.   Vaccines/immunizations fall below the approved OSHA Respiratory safety method standards

      because vaccines cannot shield employees from exposure to airborne hazards in the workplace,

      like Covid-19, and vaccines cannot remove any airborne hazard from the atmosphere in any

      workplace.

81.   The OSH Act does not provide any employer or covered entity subject to it, like the City, any

      exception to compliance with the OSHA regulations and standards, including the Respiratory

      standards.

82.   Other than seeking a variance or temporary extension to comply with OSHA standards or

      regulations, all employers and cover municipalities are required to pay for any and all OSHA

      approved safety equipment or make all required workplace administrative modifications required

      to provide a safe workplace for employees under OSHA regardless of the cost.

83.   Title VII regulations and/or case law do not provide employers with any exception to compliance

      with OSHA standards and regulations, including the Respiratory standards and regulations.

84.   In 2009, the World Health Organization declared H1N1 a “global pandemic” and OSHA did not

      add vaccines to the list of approved safety methods for managing the H1N1 airborne

      communicable disease in the workplace. See Exhibit 12, attached hereto and incorporated by this

      reference.

85.   Between 2009 and 2020, the City never mandated any employee to submit to any vaccine to

      prevent the spread of the H1N1 airborne communicable disease during the H1N1 Global

      Pandemic.

86.   Covered employers, including the City, are mandated to comply with all OHSA minimum safety

      standards. 29 U.S.C. §654 Section 5(a)(2)

87.   The FDA and the CDC are agencies within the U.S. Federal Department of Health and Human

      Services (HHS).

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88.   Pursuant to 29 U.S.C. §669 Sec. 20(a)(1) of the OSH Act, the Secretary HHS in consultation with

      the OSHA Secretary can conduct directly or by grants or contracts, research and “experiments”

      relating to approaches for dealing with occupational health problems.

89.   On or around December 11, 2020, HHS through its FDA agency provided Emergency Use

      Authorization (EUA) for Pfizer-BioNTech, Moderna, and Janssen Covid-19 vaccines

      (collectively the “Vaccines”) as experimental medical treatments for the virus that causes the

      Covid-19 infection in humans, including infections of employees in workplaces or places of

      public accommodations. See Exhibit 13

90.   The HHS/FDA EUA approval of the experimental Covid-19 vaccine is part of the many

      “activities” authorized under the OSH Act in 29 U.S.C. §669 Sec. 20(a)(1) relating to

      occupational health problems in the workplace.

91.   When Congress enacted the 1972 Communicable Disease Control Program (CDCP) it only

      authorized the Secretary of HHS to make any vaccines, in general, freely available to the general

      public through federal grants to states and nothing in the CDCP statute authorizes HHS to

      mandate vaccine usage by citizens or employees through the OSH Act. See Exhibit 14 attached

      hereto and incorporated by this reference.

92.   The legislative history of the CDCP reveals that neither HHS nor any other federal agency,

      including OSHA, has ever been authorized by Congress to mandate compulsory human

      vaccination of any kind nor has Congress authorized HHS or OSHA to mandate any vaccination

      as a condition of employment with any state, federal or municipal agency.

93.   29 U.S.C §669 Section 20(a)(5) of the OSH Act specifically prohibits the Secretary of HHS or

      OSHA from requiring or mandating medical examinations, vaccines/immunizations or treatment

      for employees who object to a vaccine/immunization, medical examination or treatment on

      religious grounds.

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94.   Section 20(a)(5) of the OSHA Act states that:

                  “Nothing in this or any other provision of this Act shall be deemed to authorize or
                 require medical examination, immunization, or treatment for those who object thereto
                 on religious grounds, except where such is necessary for the protection of the health or
                 safety of others.”

95.   Because vaccine have never been approved by OSHA under any regulation as a “authorized

      safety method” that meets the minimum methods standards under the Respiratory Regulations to

      protect employees from exposure to any airborne communicable disease, including Covid-19

      virus, neither medical immunizations nor vaccines (including the Covid-19 vaccine) can ever be

      “necessary” for the protection of the health and safety of others because vaccines do not and are

      incapable of removing the Covid-19 virus hazard from the workplace atmosphere and neither

      does the Covid-19 vaccine shield employees from exposure to the Covid-19 virus hazard while

      in the workplace which is required to meet the OSHA Respiratory method standard and General

      Duty standard. See Exhibit 12, Affidavit of Expert Dr. Baxter Montgomery attached hereto and

      incorporated herein by this reference

96.   Nothing in Section 20(a)(5) of the OSHA Act requires employees to explain their religious beliefs

      or provide a clergy letter as a condition precedent to an employee refusing or objecting to

      submitting to any immunization, medical treatment or examination.

97.   Section 20(a)(5) of the OSH Act requires employers to provide an “automatic exemption” to

      employees who object to any immunization, medical treatment or examination on religious

      grounds.

98.   The City’s Covid Vaccine Orders are preempted by the OSH Act pursuant to 29 U.S.C. §667

      Section 18(a) because OSHA has exclusive jurisdiction over setting “minimum safety standards”

      specifically setting minimum safety standards for methods used under the Respiratory regulations




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      and standards. " United Air Lines, Inc. v. Occupational Safety & Health Appeals Bd., 32 Cal.3d

      762, 772, 654 P.2d 157 (1982)

      B. Facts Applicable to Each Plaintiffs Damages Claims

99.   On June 23, 2022, then New York Governor Cuomo announced the end of the Covid-19 State of

      Disaster Emergency on June 24, 2021, due to success in the voluntary vaccination rates in the

      state, and declining hospitalizations.

100. Notwithstanding the end of the state of emergency, on August 2, 2021, former New York City

      Mayor Bill de Blasio (Mayor), issued Executive Order 75 (“EO 75”) claiming that the pandemic

      continued to pose a danger to the health and safety of New York City residents, and that EO 75

      required all newly hired for employment with any City agency to provide proof of Covid-19

      vaccination, unless the newly hired obtained an exemption due to medical or religious reasons

      through the NYC reasonable accommodation process.

101. On August 10, 2021, former Commissioner Chokshi, MD of the NYCDOH issued an Order

      requiring staff providing Covid operated or contracted services in residential and congregate

      settings to provide proof of Covid-19 vaccination or undergo weekly testing.

102. On August 24, 2021, NYCDOH issued an Order that required all Department of Education

      employees to provide proof of Covid-19 vaccine with no option to undergo weekly testing. See

103. On August 31, 2021, the Mayor issued Executive Order No. 78, requiring that beginning on

      September 13, 2021, all City employees were to provide proof of full vaccination or provide

      weekly testing until the employee submits to full vaccination.

104. During the August 31, 2021, Press Conference announcing Executive Order No. 78, when asked

      by media about religious exemptions, then Mayor de Blasio stated that “Those quote unquote,

      exemptions are not going to be honored. They’re just, that’s not the way to do things.”



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105. During another media press conference on September 8, 2021, former Mayor de Blasio stated as

      follows:

             “We recognize there are definitely, in a few cases and it's pretty rare where someone
             medically cannot be vaccinated, but where that is confirmed by a process to make sure
             that, you know, all the information is accurate, if someone cannot be vaccinated, of
             course there's grounds for a valid, medical exemption. Equally, and in very few cases we
             expect, but there are narrow and specific grounds for religious exemption. Those will
             be honored. There'll be a process to confirm them, but they will be honored. Those
             folks will continue to work for us in some capacity, in some location, we got to work
             that through, but those cases will be honored, but again, expect them to be very rare.”

106. Again during a media press Conference on September 23, 2021, former Mayor de Blasio made

      the following statements regarding vaccine exemptions:

             Mayor: Yeah, it's a great question. Thank you. Yes. And very powerfully Pope Francis
             has been abundantly clear that there's nothing in scripture that suggests people
             shouldn't get vaccinated. Obviously, so many people of all faiths have been getting
             vaccinated for years and decades. There are, I believe it's two well-established religions,
             Christian Science and Jehovah's Witnesses that have a history on this, of a
             religious opposition. But overwhelmingly the faiths all around the world have been
             supportive of vaccination. So, we are saying very clearly, it's not something someone
             can make up individually. It has to be, you're a standing member of a faith that has a
             very, very specific long-standing objection. Go ahead.
                      See September 23, 2021 Press Conference Transcript (See Exhibit 15 – All
                      Mayor Orders & Transcripts)

107. On September 12, 2021, the NYCDOH former Commissioner Chokshi, MD issued an Order

      requiring City employees working in certain childcare programs to be vaccinated.

108. On September 28, the NYCDOH former Commissioner Chokshi, MD updated its DOE Order

      requiring all DOE employees to be vaccinated without a testing option.

109. On October 20 and 31, the NYCDOH former Commissioner Chokshi, MD issued Orders

      requiring all City Employees and Contractors to submit to Covid-19 vaccination.

110. On December 13, 2021, NYCDOH former Commissioner Chokshi, MD issued Order requiring

      all private employers to require private sector employees in workplaces within the City limits to

      submit to Covid-19 vaccination in order to enter their private employer workplaces. (See Exhibit

      16 – All NYCDOH Vaccine Orders)


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111.   The former City mayor’s Executive Orders and the NYCDOH Orders by the former

       Commissioner Chokshi, MD (collectively the “Vaccine Orders”) were only applicable to all City

       employers and then on December 13, 2021 the Vaccine Orders applied to private employees for

       “health and safety” in the workplace of private employers with in the City’s jurisdiction, which

       standards are governed by Federal OSHA Standards applicable to the City employees pursuant to

       the OSHA New York State Plan, which applies to state and municipal governments and their

       employees.

112. The Vaccine Orders state that “vaccination is an effective tool to prevent the spread of Covid-19”

       and the orders include a statement from the City’s Health Commissioner that the Covid-19

       vaccine mandates are “necessary… to prevent, mitigate, control and abate the current emergency”

       of Covid-19.

113. On November 22, 2021, former Mayor de Blasio reported that approximately 12,400 City workers

       applied for exemptions from the City Employee Vaccine Orders since the orders were

       implemented. Of the 12,400, 6,000 police officers were seeking exemptions from the Vaccine

       Orders. See Exhibit 17

114. All City employees were required by the City to apply for an exemption through an online portals

       called SOLAS to be exempted from the Vaccine Order. See Exhibit 17(a)

115. On November 22, 2021, former Mayor de Blasio reported that approximate 2,400 City employees

       were placed on leave without pay (LWOP); See Exhibit 17

116. October 21, 2021 during a press conference, former Mayor de Blasio indicated that most City

       employees seeking exemptions did not meet the certain exemption standards, which were not

       disclosed to the City Employees by that time. See Exhibit 17

117.   On December 20, 2021, the New York City Law Department Office of the Corporate Counsel

       issued a legal memorandum titled “Guidance on Accommodations for Workers” instructing

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       private employers that they could deny requests for religious exemptions from the Vaccine

       Orders based on the EEOC “undue burden” standard. See Exhibit 18

118.   The City knew or should have known that the EEOC/Title VII and NYCHRL “undue burden”

       standard/regulation does not provide the City with an exemption from complying with the

       requirement in OSH Act Section 20(a)(5), which provides an automatic exemption to any

       employee who refuses to take any immunization, including the Covid-19 vaccine, treatment or

       examination based on religious grounds.

119.   The City knew or should have known that the Vaccine Orders were preempted by the OSH Act

       pursuant to 29 U.S.C. §667 Section 18(a).

120.   Under information and belief, Former Mayor DeBlasio knew or should have known through the

       City’s Legal Department that the Vaccine Orders were preempted by the OSH Act and that the

       Covid-19 vaccine did not meet the OSHA Respiratory and General Duty standard and

       regulations for safety methods and was an unauthorized safety method and that Section 20(a)(5)

       of the OSH Act gave employees the right to refuse immunization, treatments and examinations

       and that in his individual capacity he agree with the City’s legal department to ignore the

       application of the OSH Act standards and OSH Act ban that prohibited employers from

       discharging employees for exercising their right to refuse immunizations – which includes the

       Covid-19 vaccine – pursuant to Section 20(a)(5) of the act.

121.   Under information and belief, Mayor Adams knew or should have known through the City’s

       Legal Department that the Vaccine Orders were preempted by the OSH Act and that the Covid-

       19 vaccine did not meet the OSHA Respiratory and General Duty standard and regulations for

       safety methods and was an unauthorized safety method and that Section 20(a)(5) of the OSH

       Act gave employees the right to refuse immunization, treatments and examinations and that in

       his individual capacity he agree with the City’s legal department to ignore the application of the

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       OSH Act standards and OSH Act ban that prohibited employers from discharging employees

       for exercising their right to refuse immunizations – which includes the Covid019 vaccine –

       pursuant to Section 20(a)(5) of the act.

122.   Under information and belief, former Commissioner Chokshi, MD., knew or should have

       known – at least through the City’s Legal Department that the Vaccine Orders were preempted

       by the OSH Act and that the Covid-19 vaccine did not meet the OSHA Respiratory and General

       Duty standard and regulations for safety methods and was an unauthorized safety method and

       that Section 20(a)(5) of the OSH Act gave employees the right to refuse immunization,

       treatments and examinations and that in his individual capacity he agree with the City’s legal

       department to ignore the application of the OSH Act standards and OSH Act ban that prohibited

       employers from discharging employees for exercising their right to refuse immunizations –

       which includes the Covid019 vaccine – pursuant to Section 20(a)(5) of the act.

123.   Under information and belief, Commissioner Vason knew or should have known – at least

       through the City’s Legal Department that the Vaccine Orders were preempted by the OSH Act

       and that the Covid-19 vaccine did not meet the OSHA Respiratory and General Duty standard

       and regulations for safety methods and was an unauthorized safety method and that Section

       20(a)(5) of the OSH Act gave employees the right to refuse immunization, treatments and

       examinations and that in his individual capacity he agree with the City’s legal department to

       ignore the application of the OSH Act standards and OSH Act ban that prohibited employers

       from discharging employees for exercising their right to refuse immunizations – which includes

       the Covid019 vaccine – pursuant to Section 20(a)(5) of the act.

124. All Plaintiffs were denied their request for exemption from the Vaccine Order and many were

       required to appeal to the New York City-Wide Administrative Appeal for reconsideration of their

       request for exemption based on their religious practice.

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125. All Plaintiffs who submitted their appeal for an exemption from the Vaccine Orders to the City-

      Wide Administrative Appeal Panel had their request denied sometime after January 2022, and

      Plaintiffs were placed on indefinite involuntary leave without pay in and around October 2021

      and others were placed on indefinite involuntary leave without pay sometime after January 1,

      2022.

126. None of the Plaintiffs have been legally terminated by the City because none have had formal

      misconduct charges made against them pursuant to Education Law Section §3020a, New York

      Administrative Code §16-101, or Civil Service Law §75.

127. All Locked Out Plaintiffs and some Coerced Plaintiffs were “locked out” of their jobs by the City

      when they were told not to return to their jobs because of they refused to be vaccinated based on

      the Plaintiffs religious practice of abstaining from the Covid-19. See Fownes Bros. & Co.,

      Application of, 204 N.Y.S.2d 998, 25 Misc.2d 349 (N.Y. Sup. Ct. 1960) (held that: Lockout is

      defined as, a proceeding by an employer of labor the purpose of which is to bring his employees

      to his terms by shutting off their employment and persuading other employers engaged in a similar

      business not to employ them thereby forcing them to return to work for him on his terms.”)

128. When Locked Out Plaintiffs were locked out of their jobs they were also placed on indeterminate

      leave without pay (“LWOP”) pursuant to the letter Plaintiffs received. See Notice of LWOP

      attached and incorporated herein as Exhibit 19

129. Under New York law, Plaintiffs on LWOP are deemed to be discharged from employment

      because they ceased to be able to engage in work activity according to the New York Court of

      Appeals in the case McGinnis v. Bankers Life Co., Des Moines, Iowa, 334 N.Y.S.2d 270 (N.Y. App.

      Div. 1972)

130. Sometime after January 2022, Plaintiffs received a letter from the City materially misrepresenting

      to Plaintiffs that they will be “terminated” when none of the Plaintiffs received formal charges

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      for a “good cause” administrative hearings that is required to occur before any City employee can

      be terminated from any job pursuant either to Education Law Section §3020a, New York

      Administrative Code §16-101, or Civil Service Law §75 and the letter offered Plaintiffs

      reinstatement to their jobs condition on Plaintiffs taking the Covid-19 vaccine or providing proof

      of vaccination. See Exhibit 20

131. Sometime around June/August 2022, many Plaintiffs again received letters from the City again

      misrepresenting that Plaintiffs had been terminated and offering reinstatement to their jobs

      conditioned upon them submitting to taking the Covid-19 vaccine. See Exhibit 21

132. Sometime after October 2022, Mayor Adams failed to automatically reinstate Plaintiffs to their

      jobs after the New York court declared in the Garvey v. City of New York, 2022 NY Slip Op

      22335) decided October 24, 2022 that the Vaccine Orders were invalid as “arbitrary and

      capricious.”

133. Commissioner Vasan also failed to repeal the Vaccines Orders after the Garvey decision was

      decided and after Plaintiffs notified the City that the Vaccine Orders clearly violate the OSH Act

      minimum safety standards and are preempted.

134. Around March 2023, Mayor Adams amended the Vaccine Orders applicable to all City workers

      to allow Plaintiffs to enter the buildings where they formerly worked, but he again failed to

      automatically reinstate Plaintiffs to their positions and condition reinstatement of Plaintiffs on

      signing a reinstatement form and waiving their rights to compensatory damages for backpay as

      outlined in the attached and incorporated Reinstatement Form and Reinstatement Waiver

      Agreement. See Exhibit 22, Reinstatement Form & Waiver Agreement and Exhibit 23 -

      Statements of Mayor Adams regarding refusal to reinstate with backpay attached and incorporated

      herein by this reference.



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135. Mayor Adams and NYC-DHMH Commissioner Vasan in their official capacity knew or should

      have known that the reinstatement waivers violated the OSH Act and the NYCHRL which ban

      “quid pro quo” illegal conditions on employment and Respiratory regulations for the management

      of airborne communicable diseases including the Covid-19 virus.

136. Mayor Adams and NYC-DHMH Commissioner Vasan in their official capacity agreed with the

      City’s legal department to continue to enforce the Vaccine Orders despite the fact that the Vaccine

      Orders conflicted with and violated the OSHA standards and Respiratory regulations for the

      management of airborne communicable diseases, including the Covid-19 virus.

137. Former Mayor deBlasio in his individual capacity knew or should have known that placing City

      employees on LWOP (or discharging employees) for refusing to take the Covid-19 vaccine on

      religious grounds violated the OSH Act Section 11(c)(1) that the Plaintiffs discharge was not

      necessary to keep other employees safe in the City workplaces.

138. Former Mayor DeBlasio in his individual capacity agreed with the City’s legal counsel to place

       City employees like Plaintiffs on LWOP for exercising their right to refuse the Covid-19 vaccine

       which was in violation of the OSH Act Section 11(c)(1) and in violation with the City’s Civil

       Servant laws including NYC Education Law §30205, NYC Administrative Code §16-1016; and

       NYC Civil Service Law §757, which said discharge of Plaintiffs was not necessary to keep other

       employees safe in the City’s workplaces during the Pandemic.

139. Former NYC DHMH Commissioner NYC DHMH Commissioner Chokshi in his individual

      capacity knew or should have known that failing to repeal the Vaccine Orders and allowing

      Plaintiffs to be placed on LWOP/discharge from their jobs violated the OSHA Act Section

      11(c)(1) and that the Plaintiffs discharge was not necessary to keep other employees safe in the

      City workplaces that the Plaintiffs discharge was not necessary to keep other employees safe in

      the City workplaces during the Pandemic.

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140. Mayor Adams and Commissioner Vasan in their individual capacities engaged in continual

      harassment and coercion around February 2022, June 2022, October 2022 and in March 2023 by:

      1) sending letters misrepresenting that Plaintiffs where terminated when they were not to coerce

      them to take the Covid-19 vaccine in order to be reinstated, 2) failing to reinstate Plaintiffs and

      repeal the Vaccine Orders after New York courts determined that the Vaccine Orders are arbitrary

      and capricious, and 2.) failing to automatically reinstate Plaintiffs after the Vaccine Orders were

      amended to allow Plaintiffs to return to their workplaces and requiring Plaintiffs to waive their

      right to backpay and compensatory damages in order to be reinstated.

141. All of the aforementioned acts deprived Plaintiffs and those similarly situated of the rights,

      privileges and immunities guaranteed to citizens of the United States by the OSH Act, the First

      Amendment and the Fourteenth Amendment and Title VII of the 1964 Civil Rights Act in

      violation of 42 U.S.C. §1983 and in violation of the OSH Act 29 U.S.C. §660 Section 11(c)(1).

142. The acts complained of herein were carried out by the aforementioned individual defendants in

      their official capacity with actual/or apparent authority and in their individual capacity.



                                         FEDERAL CLAIMS

                              FIRST CAUSE OF ACTION
 (Wrongful Discharge Under 29 U.S.C. §660 Section 11(c)(1)&(2) of the OSH Act and pursuant

                               to 42 U.S.C §1983 of the Civil Rights Act

143. Plaintiffs realleges and incorporates by reference Paragraphs 1-142 of this Fourth Amended

      Complaint as if fully set forth herein.

144. Plaintiffs have a federal statutory right under the OSH Act 29 U.S.C. §669 Section 20(a)(5) to

      refuse any medical examination, medical treatment or immunization/vaccine, which includes the




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      Covid-19 vaccine, and to be free from wrongful discharge for exercising that statutory right

      pursuant to 29 U.S.C. §660 Section 11(c)(1).

145. The OSH Act 29 U.S.C. §669 Section 20(a)(5) confer the right to all employees to refuse and

      obtain an automatic exemption from any mandated medical examination, medical treatment and

      immunizations/vaccines specifically without preconditions and employees are provided the right

      to be free from wrongful discharge from employment for exercising their “right to refuse” or

      “right to obtain an automatic exemption” pursuant to 29 U.S.C. §660 Section 11(c)(1) of the OSH

      Act as set forth below and any violation of said “rights” provides Plaintiffs a private right of

      action pursuant to 29 U.S.C. §660 Section 11(c)(2) also outlined below:

           Section 11(c)(1)

           No person shall discharge or in any manner discriminate against any employee because
           …………of the exercise by such employee ……..of any right afforded by this Act.

           Section 11(c)(2)

           Any employee who believes that he has been discharged or otherwise discriminated against
           by any person in violation of this subsection may….file a complaint ……In any such action
           the United States district courts shall have jurisdiction, for cause shown to restrain violations
           of paragraph (1) order all appropriate relief including rehiring or reinstatement of the
           employee to his former position with back pay.


146. Pursuant to 29 U.S.C. §660 Section 11(c)(2) the United States district courts shall have direct

      jurisdiction over “any such action” filed in its court for statutory violations of the OSH Act,

      including wrongful discharge claims by employees who are discharged for exercising their

      statutory right to refuse medical treatments, medical examinations or immunization/vaccines

      provided under 29 U.S.C. §669 Section 20(a)(5).

147. The OSH Act at 29 U.S.C. §660 Section 11(c)(2) does not require Plaintiffs to exhaust any

      administrative remedies before filing this case in the United Statues District Court because the



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      OSH Act does not mandate Plaintiffs to first file a complaint with the Secretary of OSHA because

      Section 11(c)(2) states that employees “may” file a complaint with the Secretary.

148. Moreover, the Secretary of OSHA does not have enforcement authority or jurisdiction over

      violations of statutory provisions of the OSH Act, including violations of 29 U.S.C. §669 Section

      20(a)(5) because the OSH Act at 29 USC §658 Section 9 only confers power and authority to the

      Secretary to enforce and cite employers for violations of standards and/or regulations as stated in

      Section 9a as follows:

                 If, upon inspection or investigation, the Secretary or his authorized representative
                 believes that an employer has violated a requirement of section 5 of this Act, of any
                 standard, rule or order promulgated pursuant to section 6 of this Act, or of any
                 regulations prescribed pursuant to this Act, he shall with reasonable promptness
                 issue a citation to the employer. (Emphasis added)


149. OSHA already had regulatory standards to mitigate and prevent employee exposure to airborne

      hazards in the workplace under the Respiratory regulatory standards.

150. This OSH Act and its standards are applicable specifically “to employment performed in a

      workplace” in the United States. See 29 USC §653 Section 4(a)

151. When OSHA determines a substance poses a grave danger to workers, OSHA can assume an

      exposure to a grave danger wherever that substance is present in a workplace and enforce

      regulations and standards that cover the danger existing in a workplace. See Dry Color Mfrs.

      Ass'n, Inc. v. Dep't of Labor, 486 F.2d 98, 102 n.3 (3d Cir. 1973)

152. However, 29 U.S.C. §669 Section 20(a)(5) of the OSH Act is neither a standard nor regulation

      that the Secretary of OSHA can enforce as part of the administrative remedies available to the

      Secretary and which administrative remedies employees must first exhaust only if an employee

      files a complaint for an employers violation of a standard, regulation or order pursuant to Section

      6 of the Act.


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153. The City by and through the Mayor and NYC-DHMH Commissioner in their official capacity

      caused Plaintiffs to be wrongly discharged by locking Plaintiffs out of their jobs and prohibiting

      them entrance into their workplace in City buildings pursuant to the Vaccine Orders in violation

      of the OSH Act Section 11(c)(1) for exercising their right refuse the Covid-19

      immunization/vaccine guaranteed by OSH Act Section 20(a)(5).

154. As a result of the foregoing, Plaintiffs are entitled - pursuant to 29 U.S.C. §660 Section 11(2) of

      the OSH Act - to reinstatement to the positions Plaintiffs held before the discharge or to a similar

      position with the same title and job description and seniority and tenure, backpay from the date

      Plaintiffs were locked out, compensatory damages including but not limited to lost monetary

      retirement benefits, unemployment benefits and lost retirement years, vacation, sick and personal

      leave pay, removal of negative report in their employee file other consequential damages

      sustained by each of the Plaintiffs as determined by a jury.

155. Plaintiffs are further entitled to punitive damages pursuant to Section 11(c)(2) of the OSHA Act

      and pursuant to the NYCHRL §8-502 against the individual defendants, former Mayor DeBlasio,

      Mayor Adams, former NYCDHMH Commissioner Chokshi, MD and Commissioner Vason in

      their individual capacity in an amount to be fixed by a jury or according to a set statutory cap on

      punitive damages under the NYCHRL under §8-404, plus reasonable attorney’s fees, costs and

      interest under the appropriate federal or state interest rate. See Reich v. Cambridgeport Air

      Systems, Inc., 26 F.3d 1187, 1190 (1st Cir. 1994)

156. Plaintiffs OSH Act claims may also be brought pursuant to 42 U.S.C. Section 1983 of the Civil

      Rights Act because 29 U.S.C. §669 Section 20(a)(5) of the OSH Act is a federal statutory

      provision, referred to in Section 1983 as “laws” that confers on Plaintiffs the right to receive an

      “automatic exemption” for refusing to submit to any medical treatment, medical examination or

      immunization/vaccine based on religious grounds which right to refuse             is based on an

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      individual’s religious practice that is an inherent fundamental right protected by Constitution First

      Amendment Free Exercise Clause and for non-religious reasons under the Fourteenth

      Amendment Substantive Due Process Clause which substantive right was first defined by the U.S.

      Supreme Court in Jacobson v. Massachusetts, 197 U.S. 11, 26 (1905)

               “the inherent right of every freeman to care for his own body and health in such way
               as to him seems best……the liberty secured by the Constitution of the United States to
               every person within its jurisdiction…….” Jacobson at 26

157. The OSH Act claims do not conflict with the scope of Section 1983 “one step” remedial scheme

      which allows litigants to sue directly in federal court, because Section 11(c)(2) of the OSHA

      Act also contains a one step private right of action for employees to sue in federal court. See

      Williams v. Pa. Human Relations Comm'n, 870 F.3d 294 (3rd Cir. 2017)

158. The City by and through its former and current Commissioner of the NY City Department of

      Health, and former and current Mayors, including its current and former head of the Department

      of Education in their official capacity and in their individual capacities deprived Plaintiffs –

      through the enforcement of the Vaccine Orders as a City statute and/or ordinance – of their right

      to right to refuse the Covid-19 medical treatment and immunization and to receive an “automatic

      exemption” which said enforcement of the Vaccine Orders caused Plaintiffs to be wrongly locked

      out of their jobs and discharged for exercising Plaintiffs of their right to refuse the Covid-19

      vaccine and remain on their jobs provided by the OSH Act in Section 20(a)(5), and as set forth in

      more detail in Plaintiffs Second Cause of Action incorporated by reference herein.

159. The City’s violation of the OSH Act pursuant to Section 20(a)(5) by refusing to provide Plaintiffs

      with the statutory automatic exemption and for wrongly discharging Plaintiffs in violation of

      Section 11(c)(1) for exercising their right to refuse the Covid-19 medical treatment, immunization

      and/or medical exam is also a violation of Plaintiffs fundamental First Amendment Free Exercise

      right to refuse medical treatments on religious grounds and a violation of Plaintiffs right to refuse

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       medical treatments pursuant to the substantive Due Process Clause of the 14th Amendment,

       including the Covid-19 vaccine.

160. Plaintiff right to refuse the Covid-19 vaccine is is not a crime under New York State law, federal

       law or any law in the United States. See Wesley Health Care Ctr. v. DeBuono, 244 F.3d 280 (2nd

       Cir. 2000)2


                                              SECOND CAUSE OF ACTION

        (Claim under 42 U.S.C. §1983 for violation of the First Amendment Free Exercise Clause
           and Substantive Due Process Clause as Applied to the City through the Fourteenth
                                             Amendment)

161. Plaintiffs realleges and incorporates by reference Paragraphs 1-160 of this Fourth Amended

       Complaint as if fully set forth herein.

162.   42 U.S.C. §1983 is the primary remedial statute for asserting federal civil rights claims against local

       public entities, officers and employees – which state as follows:

                   “Every person who, under color of any statute, ordinance, regulation, custom, or usage,
                   of any State or Territory or the District of Columbia, subjects, or causes to be subjected,
                   any citizen of the United States or other person within the jurisdiction thereof to the
                   deprivation of any rights, privileges, or immunities secured by the Constitution and
                   laws, shall be liable to the party injured in an action at law, suit in equity, or other proper
                   proceeding for redress…..”

163.    To succeed on a Section 1983 claim, a plaintiff must prove that his/her constitutional rights were

       violated, and that the violation was caused by a person acting under color of law, also known as

       Section 1983 Monell Liability. See Monell v. Department of Social Services of City of New York,

       436 U.S. 658 (1978) (case where female employees in the New York City Department of Social



 2
   Held: A plaintiff must show that the violation of the federal law also amounts to the violation of a federal right
 possessed by the plaintiff. …. In determining whether a statute creates a federal right, the Supreme Court uses a three part
 test. First, "Congress must have intended that the provision in question benefit the plaintiff." Id. Second, "the plaintiff
 must demonstrate that the right assertedly protected by the statute is not so vague and amorphous that its enforcement
 would strain judicial competence." Id. at 340-41 (internal quotations omitted). Finally, "the statute must unambiguously
 impose a binding obligation on the States." Id. at 341... Wesley Health Care Ctr. v. DeBuono, 244 F.3d 280 (2nd Cir.
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       Services who were forced to take unpaid pregnancy leaves before such leaves were medically

       necessary) see also West v. Atkins, 487 U.S. 4242 (1988).


164. The Constitution is applied to states and municipalities through the Fourteenth Amendment,

       which states that:

         No State shall make or enforce any law which shall abridge the privileges or immunities of
         citizens of the United States; nor shall any State deprive any person of life, liberty, or
         property, without due process of law; nor deny to any person within its jurisdiction the equal
         protection of the laws.

165. Since 1905, the U.S. Supreme Court in the Jacobson v. Massachusetts, 197 U.S. 11, 26 (1905) has

      defined as a substantive due process “liberty” right “the inherent right of every freeman to care

      for his own body and health in such way as to him seems best……the liberty secured by the

      Constitution of the United States to every person within its jurisdiction…….” subject only

      generally applicable state criminal laws.

166. The U.S. Supreme Court further recognized the fundamental substantive due process right under

      the 14th Amendment in 1990 in the case Cruzan v. Director, Missouri Dep’t of Health, 497 U.S.

      261, 279 (1990) holding – “we assume that the United States Constitution would grant a competent

      person a constitutionally protected right to refuse lifesaving hydration and nutrition” and the

      Supreme Court further recognized in the same year that prisoners possess "a significant liberty

      interest in avoiding the unwanted administration of antipsychotic drugs under the Due

      Process Clause of the Fourteenth Amendment in the case Washington v. Harper, 494

      U.S. 210, 221-222 (1990); see also id., at 229 ("The forcible injection of medication

      into a nonconsenting person's body represents a substantial interference with that

      person's liberty")



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167.   Furthermore, the First Amendment Free Exercise Clause applied to municipalities through the

       14th Amendment also prohibits municipalities from making a “law …….prohibiting the free

       exercise thereof …religion.

168. The refusal of medical treatment based on religious practices and beliefs is protected under the

       First Amendment Free Exercise Clause, so long as the religious refusal is not a crime under any

       applicable state law based on reasonable public health policy.

169. The right to choose one’s own medical treatment based on one’s religious practices and beliefs,

       like the practice of Plant-based Lifestyle Medicine based on the belief that the God of the Torah

       and/or the Bible in the book Genesis specifically prescribes a plant, fruit and herb diet for mankind

       to provide life and to sustain life, is also a fundament right protected under the First Amendment

       Free Exercise Clause, so long as applicable state law does not criminalize the ingestion of certain

       plants, fruits or herbs based on reasonable public health policy.

170. Plaintiffs, therefore, have the fundamental right to refuse any medical treatment based on their

       Substantive Due Process right under the 14th Amendment as outlined above and based on Plainiffs

       First Amendment Free Exercise right to refuse any medical treatment, including the Covid-19

       vaccine, on religious ground or as a religious practice (hereinafter referred to collectively

       “Constitutional Rights”).

171. "'When the right infringed is fundamental,' we apply strict scrutiny, and 'the governmental

       regulation must be narrowly tailored to serve a compelling state interest.' Immediato v. Rye Neck

       Sch. Dist. , 73 F.3d 454, 460 (2d Cir. 1996) (internal quotation marks omitted)."

172. The Vaccine Orders can never serve a compelling state interest because the City does not have a

       compelling interest in enforcing Vaccine Orders that do not meet the minimum safety standards

       for preventing employee and public exposure to the Covid-19 airborne viral hazard because

       vaccines are incapable of removing the Covid-19 airborne viral hazard from the atmosphere in any

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      public or private workplace and the vaccine is incapable of shielding employees or the general

      public from exposure to the airborne virus that causes Covid-19 disease.

 173. Defendants, collectively and individually, while acting under color of municipal law promulgated

      and enforced the Vaccine Orders, which violate the OSH Act minimum safety standards applicable

      to the prevention of hazardous airborne viruses in the workplace and are preempted by the OSH

      Act, which deprived Plaintiffs of their right to refuse the Covid-19 vaccine based on religious and

      non-religious grounds under the Constitution and deprived Plaintiffs of the right to receive the

      “automatic exemption” provided under the OSH Act which resulted in the wrongful discharge of

      Plaintiffs pursuant to the City’s Vaccine Order that required Plaintiffs to be removed from their

      workplace buildings and placed on indeterminate leave without pay.

 174. Said Vaccine Orders were claimed by the City to be a condition of employment according to letters

      sent by the City to Plaintiffs attached hereto and incorporated herein as Exhibit 26.

 175. The custom, policy, usage, practice, procedure and rule of the City included the blocking or locking

      out of Plaintiffs from their physical workplaces and placing Plaintiffs on indeterminate leave

      without pay for refusing to submit to taking the Covid-19 vaccine or providing proof of the Covid-

      19 vaccination based on Plaintiffs religious practices which resulted in the unlawful discharge of

      Plaintiffs.

176. The Commissioner for the City’s Department of Health is responsible for issuing public health

     regulations for the City through the Commissioner’s power authorized under N.Y. Public Health

     Law 206 – Commissioner; General Powers and Duties.

177. The Commissioner is the final policymaker for the issuance of public health regulations for the

     City.

178. The City’s previous Commissioner in 2021 in his official capacity under color of law pursuant to

     PHL §206 issued the Vaccine Orders that caused Plaintiffs to be placed on leave without pay

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     from around October, 2021 until the present for refusing to submit to the Covid-19 Vaccine

     Orders based on religious grounds in violation of the First Amendment. Harlow v. Fitzgerald, 457

     U.S. 800, 815-819 (1982) (Held in summary that government officials performing discretionary

     functions are not shielded from liability for civil damages if their conduct “violate clearly

     established …. constitutional rights which a reasonable person would have known”.

179. The City’s current Commissioner and the City’s current Mayor, Eric Adams, has ratified the

     Vaccine Orders issued by the prior commissioner by failing to repeal the prior commissioners

     Vaccine Order as violative of the OSH Act express preemption clause, and the First Amendment.

180. The current Commissioner is a licensed M.D. physician in the State of New York who knew or

     should have known that the issued Vaccine Orders were preempted by the OSHA standards because

     they conflicted with the method and scheme of the OSHA standards and the Vaccine Orders were

     not regulations of general applicability because they did not apply to all City residents, and they

     violated New York State PHL §206 which prohibits mandatory “adult vaccination”.

181. The City is, therefore, liable for the acts of the Commissioner in the issuance of the Vaccine Orders

     that caused Plaintiffs to be place on involuntary leave without pay (discharged) for exercising their

     right to refuse to take the Covid-19 vaccine for religious ground in violation of the First

     Amendment, the Fourteenth Amendment substantive Due Process clauses and the OSH Act Section

     11(c)(1)&(2) and Section 20(a)(5).

182. The City’s practice, along with the practice of all the City’s Departments, of failing to train all City

     employees (including the City-Wide Panel responsible for reviewing Plaintiffs request to be

     exempted from the Vaccine Orders) in the OSHA Respiratory Standards and General Duty

     Standards caused Plaintiffs to be placed on leave without pay for exercising their right to refuse the

     take the Covid vaccine based on religious grounds protected by the First Amendment.



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183. The City had no compelling reason for requiring its employees to disclose details of their religious

     beliefs, or for requiring a clergy letter or to require answers questions about their religion when the

     OSH Act Section 20(a)(5) requires the City to provide automatic exemptions from any

     immunization requirement when an employee refuses any immunization, including the Covid-19

     vaccine, or medical treatment or exam.

184. The City’s practice of placing employees on involuntary indefinite leave without pay for refusing

     to submit to the City’s Vaccine Orders based on religious grounds interferes and places a

     substantial burden on the religious practices of Plaintiffs, specifically their Free Exercise right to

     abstain from taking the Covid-19 vaccine and remain working based on religious grounds.

185. The City’s practice and conduct violates Plaintiff’s right to the free exercise of religion, in

     violation of the First Amendment to the United States Constitution, made applicable to the states

     through the Fourteenth Amendment and protected by the OSH Act at Section 20(a)(5) and

     Section 11(c)(1).

186. The City’s practice of denying any other request for exemption from the Covid-19 vaccine be it

     medical or non-religious grounds from Plaintiffs and discharging Plaintiffs or any employee for

     refusing to take the Covid-19 vaccine or provide proof of vaccination violates Plaintiffs and all

     employee’s right to choose or refuse their medical care which is guaranteed to all competent U.S.

     citizens under the Fourteenth Amendment substantive Due Process Clause and held by the U.S.

     Supreme Court in the Jacobson v. Massachusetts, 197 U.S. 11 (1905) and in the Cruzan v.

     Director, Missouri Dep’t of Health, 497 U.S. 261 262 (1990) cases.

187. The City’s Vaccine Orders were invalid on the date they were executed because they were

     preempted by the OSHA Act; and, therefore, the City had absolutely no government interest for

     enforcing the Vaccine Orders and placing the Plaintiffs on involuntary leave without pay for

     refusing to take the Covid-19 Vaccine, when the City should have and could complied with the
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        existing OSH Act Respiratory standards and regulations that would have allowed Plaintiffs to

        either continue to work remote or provide Plaintiffs with the appropriate PAPR safety equipment

        so that Plaintiffs could continue to work in a safe workplace .

  188. The City has never obtained a variance from OSHA approving the Covid-19 vaccine as a

        necessary method for the safety of others.

  189. As a direct and proximate result of the City’s enforcement of its preempted, invalid and

        unauthorized workplace safety standard in violation of the OHA Act, Plaintiffs have suffered

        injuries and damages, including loss of pay since around October 4, 2021, lost of retirement

        credits, for some of Plaintiffs and other class members, loss of unemployment benefits, damage to

        their employment record due to false reporting for the reasons for being placed on leave without

        pay and emotional distress damages.

190. Mayor Adam continues to “lockout” Plaintiffs from working their jobs for exercising their religious

     practice of refusing to ingest an unauthorized “experimental” Covid-19 vaccine by requiring

     Plaintiffs to first waive their rights to backpay and compensatory and other legal remedies in order to

     be reinstated, which said condition of reinstatement is a continuing violation of Plaintiffs rights

     protected by the OSH Act, the First, Fourteenth Amendments and the New York City Human Rights

     Law.

191. The City’s continued enforcement of the invalid Vaccine Orders through the requirement that

     Plaintiffs waive their right to damages is a continuing violation of Plaintiffs’ right to object to the

     Vaccine Orders.

192. Mayor Adams and Commissioner Vason conduct in their individual capacity is willful, malicious,

     oppressive, and/or reckless and was of such a nature that punitive damages should be imposed on the

     City’s implementing officials in their individual capacity as legally permissible.



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                                        THIRD CAUSE OF ACTION
                             (Federal Declaratory Judgement Act 28 U.S.C. §2201)
                                         Permanent Injunctive Relief

193. Plaintiffs realleges and incorporates by reference Paragraphs 1-192 of this Fourth Amended

      Complaint as if fully set forth herein.

194. The federal government regulates worker safety through the Occupational Safety and Health Act of

      1970 (OSH Act), which is administered by Occupation Safety and Health Administration (OSHA).

      See 29 U.S.C. §§651-78.

195. The OSH Act authorizes the Secretary of Labor to promulgate federal occupational safety or health

      standards as outlined in 29 U.S.C. § 655 Section 6 that are “reasonably necessary or appropriate to

      provide safe or healthful employment and places of employment. See also 29 U.S.C. § 652(8).



196. OSH Act §18b expressly pre-empts any state law or regulation that establishes an occupational health

      and safety standard on an issue for which OSHA has already promulgated a standard, unless the State

      has obtained the Secretary’s approval for its own plan, or any state or private employer can seek a

      variance to an existing standard for an experimental proposed standard, so long as the experimental

      variance is as effective as the existing standard. See 29 U.S.C. 655-Section 6(b)(6).

197. The OSH Act provides standards and minimum regulation for airborne hazards, specifically for

      communicable diseases through the Personal Protective Equipment standard (29 CFR 1910.132) and

      Respiratory Protection standard (29 CFR 1910.134) which provide protection for workers when

      exposed to contact, droplet and airborne transmissible infectious agents; and OSHA’s TB compliance

      directive which protects workers against exposure to TB through enforcement of existing applicable

      OSHA standards and the General Duty Clause of the OSH Act (collectively “Infectious Disease

      Standards”).



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198. The existing OSHA Infectious Disease standards apply to the City through the approved New York

        State Plan approved in 1984.

199. The New York State Plan does not cover standards for Infectious Respiratory Diseases and therefore

        the State of New York has not taken responsibility for setting standards for any infectious disease

        including respiratory diseases. See State Plan Standards at 12 NYCRR Part 800.6, 800.7, 800.5, 801

        and 820.3

200. Because the Respiratory Standard and General Duty Clause are broadly written, they apply to the

        Covid-19 virus because it is an airborne hazard in the workplace and the existing Respiratory

        Standards applies specifically to Covid-19, including all variants and new novel airborne diseases.

201. The City’s Vaccine Orders expressly states that they directly, substantially, and specifically regulate

        occupational safety and health for City and private employees only, and therefore, the Orders are

        occupational safety and health standard within the meaning of the OSH Act despite the fact that the

        Orders say they are for the benefit of the general public.

202. The City’s Vaccine Orders also conflicts with the methods by which the OSHA standards control

        infectious diseases because the Covid-19 vaccine does not eliminate an employee’s exposure to nor

        remove the Covid-19 airborne viral contaminant from the atmosphere in the workplace, which is the

        sole objective and method of the OSHA Respiratory standard which is a workplace environmental

        protocol to works on the outside of the employees’ body to keep them safe. See International Paper

        Co. v. Ouellette, 479 U. S. 481, 494 (1987). (Held that “state law is pre-empted when it conflicts with

        the method by which the federal statute was designed….”).




    3
     See New York State Plan Codes, Rules and Regulations at https://dol.ny.gov/system/files/documents/2021/03/part801-
    805.pdf
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203. The Vaccine Orders implement a “medical treatment” that is injected into the body of employees that

        effects the employee’s natural immune system but does nothing to shield the employee from exposure

        to any airborne viral contaminant, specifically the airborne virus that causes Covid-19.

204. The Covid-19 vaccine as a medical treatment does not meet the “minimum safety standard”

        requirements to be an approved “method” to manage respiratory communicable diseases under the

        OSHA regulations and is therefore preempted by the OSH Act standards and regulations.

205. The Vaccine Orders also conflict with general scheme of the OSHA Act (which was to place a non-

        delegable duty on employers to create safe workplaces to retain employees)

206. On May 18, 2021, a New York State agency adopted the OSHA Respiratory standard 29 CFR

        1910.134, and lists Powered Air Purifying Respirators (PAPRs) as an engineering safety device,

        which could have been adopted and implemented by all City agencies in order to provide PAPRs to

        employees who refused to take the Covid-19 on religious grounds and could not perform their jobs

        remotely. See Directive 4068 dated 5/18/20214

207. Based on the foregoing, Plaintiffs seek a declaratory judgement pursuant to 28 U.S.C. §2201 based

        on the jurisdiction granted this United States District Court in Section 11(c)(2) of the OSH Act at 29

        U.S.C. §660 to “order all appropriate relief” which shall include determining that City’s Vaccine

        Orders are preempted by the OSHA Act and are therefore void and Plaintiffs seek a permanent

        injunction prohibiting the City from enacting any future Vaccine Mandates in violation of the OSH

        Act and that violate Plaintiffs Constitutional rig.

208. Plaintiffs also seeks a declaratory determination that the Jacobson v. Massachusetts, 197 U.S. 11

        (1905) decision regarding the power of states and municipalities to mandate vaccines or

        immunization under its police power has also been overruled by federal regulation, specifically by

        the OSH Act and declare that all employees have the right to choose and refuse their medical


    4
        See May 18, 2021 New York State Directive 4068 at https://doccs.ny.gov/system/files/documents/2021/05/4068.pdf
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        treatment under the substantive Due Process Clause of the Fourteenth Amendment and as held by the

        U.S. Supreme Court in Jacobson court and the Cruzan.5

209. Plaintiffs also seek a declaration that “remote work” is an OSHA authorized safety method to protect

        employees from exposure to airborne hazards in the workplace, including the airborne hazard of the

        Covid-19 virus.

                                          FOURTH CAUSE OF ACTION

                             (Religious Coercion/Harassment/Discrimination)
             New York City Human Rights Law - Administrative Code §8-107(3) & §8-109(a)(f)(i)

210. Plaintiffs’ relegations and incorporates by reference Paragraphs 1-191 of this Complaint as full set

        forth herein.

211. Because the City’s Order was preempted by the OSHA Act, the City had no authority to require

        Plaintiffs or any City employee to submit to the City’s Vaccine Orders nor did the City have authority

        to make compliance the Vaccine Orders a condition for retaining employment with the City.

212. The City violated the Plaintiffs rights protected by the City’s Human Rights Law (CHRL) when it

        made the Vaccine Orders a condition for retaining their employment, in violation of the CHRL

        Administrative Code § 8-107 Subdivision (3)(a), which states that, "[i]t shall be an unlawful

        discriminatory practice . . . [f]or an employer …… to:

                    impose upon a person as a condition of obtaining or retaining employment any terms or
                    conditions, compliance with which would require such person to violate, or forego a
                    practice of, such person's creed or religion, including but not limited to the observance of
                    any particular day or days or any portion thereof as a sabbath or holy day or the observance
                    of any religious custom or usage," (§ 8-107 [1] [a] [3].




    5
     Cruzan v. Director, Missouri Dep’t of Health, 497 U.S. 261, 279 (1990) (held – “we assume that the United States
    Constitution would grant a competent person a constitutionally protected right to refuse lifesaving hydration and
    nutrition.” – based on substantive Due Process) Jacobson (held that “the inherent right of every freeman to care
    for his own body and health in such way as to him seems best……But the liberty secured by the
    Constitution of the United States to every person within its jurisdiction does not import an absolute right
    in each person to be, at all times and in all circumstances, wholly freed from restraint…….This court has
    more than once recognized it as a fundamental principle….”)
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213. The City had no authority to require Plaintiffs or any City employee to request a religious exemption

     and to disclose their religious practices as a pre-condition for them receiving an exemption from the

     illegal Vaccine Order or as a pre-condition for receiving the OSH Act right to either work remotely

     or to receive safety equipment, like the PAPR.

214. The City’s investigation into Plaintiffs religious practices and denial of their request for an exemption

     from the Vaccines Orders was intended to unlawfully harass and coerce Plaintiffs to violate or forego

     their religious practice of abstaining from taking the Covid-19 vaccine, when the OSHA Act provided

     more than adequate safety provisions that did not require Plaintiffs compliance Vaccines Orders.


215. The City’s also intentionally failed to train and inform Plaintiffs of their OSH Act right to work

     remote or to receive safety equipment like the PAPR so that Plaintiff would not file complaints with

     OSHA and so that the City could continue to harass and coerce Plaintiffs to violate their religious

     practice of abstaining from taking the Covid-19 vaccine.


216. The City’s act of placing Plaintiffs on involuntary leave without pay and locking them out of their

     jobs because of religious practice of abstaining from taking the Covid-19 vaccine for the purpose is

     coercion, harassment and extreme and outrageous conduct intentionally or with reckless indifference

     to Plaintiffs to right to practice their religious practice.

217. The City’s Mayor Adams in his individual capacity continues to harass Plaintiffs by refusing to

     automatically reinstate Plaintiffs and requiring them to provide a waiver of any and all claims and

     monetary damages against the City as a condition for reinstatement. The “quid-pro quo” requirement

     along with the “no vax no job” condition amounts to harassment under the NYCHML.

218. The City act of denying Plaintiff’s their unemployment benefits by falsely claiming to the New York

     Department of Labor that Plaintiffs were terminated from their jobs because of a violation of

     “condition of employment” amounts to intentional harassment and extreme and outrageous conduct

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       because the illegal Vaccines Orders were preempted by the OSHA act and therefore not valid

       “conditions of employment”.

219. The Mayors wrongful intentional harassment and discriminatory adverse action listed above have

       caused Plaintiffs severe emotional distress in violation of New York City Human Rights Law (CHRL)

       codified in Administrative Code § 8-107, entitled "Unlawful Discriminatory Practices."


220. On November 1, 2021, the New York City Human Rights Commission issued its anti-discrimination

       guidelines regarding New York City Human Rights Laws6 titled “COVID-19 & Employment

       Protections,” which relevant parts state as follows:

                            Employers must not discriminate against or harass employees with actual or
                            perceived infection with COVID-19, or based ……..on the presumption that they
                            …….are more likely to contract COVID-19 due to …..religion or another protected
                            status.    (See “Guidelines attached Exhibit 27)

221. Even after the City’s Human Rights Commission issued the anti-harassment and discrimination

       guidance, the City continued to harass Plaintiffs by keeping them on involuntary leave without pay,

       and denying them unemployment benefits.

222. Under information and belief, all of the Plaintiffs were not given the opportunity to engage in

       “Cooperative Dialogue” with the City as required by CHRL §8-102, wherein the City made a “good

       faith” effort either in writing or oral dialogue to discuss with Plaintiffs the available rights to remote

       work or receive safety equipment pursuant to OSH Act standards.

223. Because the City’s Vaccine Orders violated the OSH Act and the City had a duty to provide either

       remote work or OSHA approved safety equipment so that Plaintiffs could continue to work, the City

       could not claim “undue hardship” as an excuse for failing to comply with the existing OSH Act

       standards.




   6
       See all amendments to the CHRL at https://www1.nyc.gov/site/cchr/law/amendments.page
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224. The City required each Plaintiff to apply and/or reapply for religious exemptions, when they knew all

      along that they were never going to provide any accommodation that would allow any of the Plaintiffs

      to remain in their jobs either within their facilities or to work from home.

225. The City knew or should have known that OSHA pre-empted all of their Vaccine Orders and that the

      hostility express toward the faith of employees did not absolve the City from its Duties under OSHA.

226. The City’s acts of requiring Plaintiffs to make two and three requests for religious exemptions and to

      disclose detail about their faith and require clergy letters when the OSH Act requires employers to

      grant automatic exemptions pursuant to Section 20(a)(5) is evidence of acts of coercion, harassment

      and hostility in violation of the NYCHRL and the OSH Acts.

227. Mayor Adams in his individual capacity recklessly disregarded the rights of all Plaintiff by over and

      over denying them their right to their jobs and refusing to provide exemptions from the Vaccine

      Orders and requiring them to waive their rights to backpay and compensation while denying safety

      equipment mandated by OSHA amounts to gross coercion and harassment.



                                          FIFTH CAUSE OF ACTION

                                              Common Law Fraud

228. Plaintiffs’ relegations and incorporates by reference Paragraphs 1-191 of this Complaint as full set

      forth herein.

229. Under New York law, the five elements of a fraud claim must be shown by clear and convincing evidence:

      (1) a material misrepresentation or omission of fact (2) made by defendant with knowledge of its falsity

      (3) and intent to defraud; (4) reasonable reliance on the part of the plaintiff; and (5) resulting damage to

      the plaintiff. Schlaifer Nance & Co. v. Estate of Warhol, 119 F.3d 91, 98 (2d Cir.1997); Centro

      Empresarial Cempresa S.A. v. América Móvil, S.A.B. de C.V., 17 N.Y.3d 269, 276 (2011). Fraud may



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     also be based on a “material omission of fact.” Mandarin Trading Ltd. v. Wildenstein, 16 N.Y.3d 173,

     178 (2011).

230. The New York City Health Commissioner, Dave A. Chokshi, MD, MSc, falsely represented in the

     Vaccine Orders that “vaccination is an effective tool to prevent the spread of Covid-19 and benefits

     both vaccine recipients and those they come into contact with” when it is impossibly for any vaccine

     to shield any person from exposure or prevent anyone from coming into contact with any hazardous

     airborne communicable disease.

231. As an MD, MSc doctor, Dr. Chokshi knows that vaccines are not an environmental tool that works

     outside the body when the vaccine is injected inside the human body. See Affidavit of Dr. Baxter

     Montgomery.

232. Dr. Chokshi has a duty to know and should have known that vaccines do not meet the OSHA

     minimum standards for protecting employees from exposure to airborne communicable disease

     through the use of Personal Protective Equipment approved by OSHA and which have been used in

     the hospital setting for decades.

233. Dr. Chokshi also falsely represented in the Vaccine Orders that the administration of the Covid-19

     vaccine is necessary to “prevent, mitigate, control, and abate” the Covid-19 “emergency” when the

     vaccines are not “necessary” because they are totally incapable of preventing, controlling or abating

     the transmission of Covid-19 and Dr. Chokshi as a physician knew or should have known these

     statements to be false based on his experience as a physician.

234. Dr. Chokshi has been practicing medicine over 20 years and during his practice as a physician the

     H1N1 Global Pandemic occurred and he knew or should have known that no vaccine mandate to

     eliminate the H1N1 Global Pandemic was not ordered by any public health professional as a

     necessary method for preventing, mitigating or controls the H1N1 Pandemic.



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235. Moreover, Dr. Chokshi along with the City’s Corporate Attorney failed to disclose in any of the

     Vaccine Orders or legal memos that all employees, city and private sector, have a right under the

     OSHA Act Section 25(a), to refuse to take any vaccine, medical treatment or examination based on

     religious grounds and said failure was for the purpose of coercing City and private sector employees

     to relinquish their rights and submit to taking the Covid-19 vaccine.

236. The above false statements along with the failure to disclose the right of every employee to refuse the

     Covid-19 vaccine caused thousands of employees in the City of New York to relinquish their right to

     refuse and to submit to injecting the Covid-19 vaccine into their bodies.

237. Under information and belief, several of thousands of City and private sector employees relied on Dr.

     Chokshi representation that submitting to taking the Covid-19 vaccine would prevent the spread of

     the virus that causes it even though thousands who took the vaccine got infected several of times by

     the virus that causes Covid-19 proving that Dr. Chokshi’s representation was patently false.

238. Under information and belief, many people who were vaccinated have sustained injuries like Mr.

     Coombs as a result of taking the Covid-19 vaccine including getting the Covid-19 virus and having

     health problems including heart inflammatory disease.

239. Under information and belief, many people have incurred additional medical expenses and health

     care expenses as a result of taking the Covid-19 vaccine in reliance on the false representation by Dr.

     Chokshi that the vaccine would stop the spread when it did not.



                                               CLASS ALLEGATIONS

240. Plaintiffs realleges and incorporates by reference Paragraphs 1-239 of this Fourth Amended

     Complaint as if fully set forth herein.




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241. Class representative Plaintiffs, seek class certification pursuant to Fed. R.Civ.P. 23(a), Fed.R.Civ.P.

      23(b)(1)((A), to Fed.R.Civ.P. Rules 23(b)(3) to pursue claims for damages, and on behalf of

      themselves and all persons similarly situated.

242. The Class claims are appropriate under Fed.R.Civ.P. 23(b)(1)((A) because prosecuting separate

      actions by the Plaintiffs against the City would create a risk of inconsistent or varying adjudications

      with respect to the individual class members that would establish incompatible standards of conduct

      for the party opposing the class.

243. The Class claims raise numerous common questions of fact or law, including, but not limited to:

            a.    Whether the Vaccine Orders are preempted by OSHA standards because the Vaccine

                  Orders specifically targets City employees and not a larger public health goal;

            b.    Whether the wrongful discharge of Plaintiffs for refusing to take the Covid-19 vaccine

                  based on religious grounds violates the OSH Act, the First Amendment Free Exercise

                  and Fourteen Amendment substantive Due Process liberty right pursuant to 42 U.S.C.

                  §1983 and amount to religious discrimination and harassment pursuant to the New York

                  City Human Rights Act.

244. Class Certification is also appropriate under Federal Rules of Civil Procedure 23(b)(3). The common

      issues identified above will predominate over any purely individual issues. Moreover, a class action

      is superior to other means for fairly and efficiently adjudicating the controversy.

245. The claims of the named Plaintiffs are typical of the claims of the class in that the named Plaintiffs

      and class members claim that their right to a safe workplace pursuant to OSHA standards have been

      denied by City’s reckless disregard to disclose to Plaintiffs their right to remote work and/or

      Respiratory Protections provided under OSHA Standards and subsequent denial of their right to

      exercise their religious practice of abstaining from the Covid-19 vaccine and keep their job in

      violation of the First Amendment and the New York City Human Rights Law.

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246. The named Plaintiffs claim that they were forced to seek an unnecessary religious exemption which

      subjected them to harassing interrogations regarding their religious practice of abstaining from the

      Covid-19 vaccine and subjected them to religious discrimination.

247. Thus, the named Plaintiffs have the same interests and have suffered the same type of damages as the

      class members, namely loss wages and benefits for being placed on leave without pay due to their

      refusal to submit to the Vaccine Orders



                                                PRAYER FOR RELIEF


   248. Declaratory judgement pursuant to 28 U.S.C. § 2201(a), declaring that:

           a. All employers, including but not limited, to private employers as well as state and municipal

               employers, are precluded from mandating immunizations/vaccines, medical treatments and

               medical examinations, including the Covid-19 vaccine, (so long as refusal of said

               immunizations/vaccines, medical treatments and medical examinations is not a crime under

               any respective state law), as a condition of employment or a condition for receiving

               employment benefits and from discharging any employee for refusing any immunization,

               including the Covid-19 vaccine pursuant to Section 20(a)(5) and Section 11(c)(1);

           b. all competent citizens have the right to choose their own medical treatment to reduce the

               risks associated with any communicable disease, including but not limited to the right to

               choose plant-based lifestyle medical treatments so long as the medical treatment is not a

               crime and citizens have the right to refuse any medical treatment; and

           c. declaration that the Vaccine Orders are preempted and are void and all agreements obtained

               by the City from any employee impacted by the Vaccine Orders, like employee waivers of

               their rights to backpay or compensatory damages are also void, invalid and the current


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            mandate that Plaintiffs can only be reinstated if they provide a waiver of liability is void and

            that the statute of limitations runs on Plaintiffs claims from the date that any conditions of

            reinstatement is lift voluntarily or by order of this Court; and

        d. pursuant to 29 U.S.C §669(a)(5) all employees have an absolute right to obtain a religious

            exemption from an employer who requires any immunization, medical examination or

            medical treatment.

249. Injunctive relief ordering that the Defendants are barred from:

        a. continuing to withhold compensation from Plaintiffs owed to them or which should have

            been paid to Plaintiffs since the date that each Plaintiff was placed on leave without pay

            until the day Plaintiffs return to work as ordered herein;

        b. continuing to withhold or preventing Plaintiffs from receiving that portion of unemployment

            benefits paid by Plaintiffs that should have been paid to Plaintiffs while on leave of absence

            without pay;

        c. withholding OSHA authorized safety precautions, including but not limited to “remote

            work” at home, safety engineering precautions like class room air purification systems,

            safety equipment like Powered Air Purifying Respirators (PAPR) or any other safety

            method authorized by the OSHA regulations to prevent employee exposure to airborne viral

            hazards in the workplace; and

        d. that the City is shall pay Plaintiffs all backpay owed from the date they were place on leave

            without pay, to Plaintiffs counsel of record within 21 business days of this Court’s order to

            pay backpay.

250. Pursuant to Plaintiffs OSH Acct Section 11(c)(2), claim, Section 1983 claims and New York City

      Human Rights Claims, Plaintiffs also seek damages in the form of:

     a. loss payments into retirement fund and reinstatement of loss time into retirement calculation;

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    b. expungement of discipline codes from each employee’s personnel file and records;
    c. mental and emotional distress damages;
    d. punitive damages against Defendants former Mayo deBlaiso, Mayor Adams, former
       Commissioner Chokshi, MD and Commissioner Vason in their individual capacities in an
       amount to be determined by a jury or pursuant to the statutory limits under the NYCHRL §8-
       404;
    e. pecuniary losses due to fraud including but not limited to medical expenses, future lost earnings
       and future medical expenses
    f. interest on any compensation pursuant to applicable law;
    g. attorney fees and costs; and
    h. any other remedies allowed by law



Dated: January 15, 2024                                Respectfully submitted,
                                                       /s/ Jo Saint-George
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